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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                   SOUTHERN DIVISION


 STATE OF MISSISSIPPI, et al.,
                                                      Civil Action No. 1:22-cv-00113-HSO-RPM
          Plaintiffs,

 v.

 XAVIER BECERRA, in his official capacity
 as Secretary of Health and Human Services,
 et al.,

          Defendants.


      CONSENT MOTION FOR EXTENSION OF TIME FOR DEFENDANTS TO FILE
          REBUTTAL IN FURTHER SUPPORT OF THEIR CROSS-MOTION
                        FOR SUMMARY JUDGMENT

         Defendants respectfully request that their deadline for filing their rebuttal in further

support of their Cross-Motion for Summary Judgment (ECF No. 90) be extended from

September 12, 2023, to September 28, 2023. The reasons for this motion are set forth further

below.

         1.      Defendants filed their Cross-Motion for Summary Judgment on July 28, 2023.

Plaintiffs filed their Opposition to this Motion on September 5, 2023 (ECF No. 108). Pursuant to

Local Rule 7(b)(4), Defendants’ rebuttal is due on or before September 12, 2023.

         2.      Because of competing deadlines in other matters and pre-scheduled personal

leave, undersigned counsel for Defendants need additional time to prepare Defendants’ rebuttal.

         3.      Undersigned counsel conferred on September 7, 2023, via email with counsel for

Plaintiffs, Cameron Norris, who consented to this extension.
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       For all these reasons, Defendants respectfully ask the Court to extend their deadline for

filing their rebuttal in further support of their Cross-Motion for Summary Judgment from

September 12, 2023, to September 28, 2023.

Dated: September 8, 2023                            Respectfully submitted,
                                                    BRIAN M. BOYNTON
                                                    Principal Deputy Assistant Attorney General
                                                    Civil Division

                                                    MICHELLE BENNETT
                                                    Assistant Director, Federal Programs Branch

                                                    /s/ Carol Federighi
                                                    CAROL FEDERIGHI
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                                                    Counsel for Defendants




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